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                         Exhibit 7




                                    Exhibit 7
                                      109
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 2 of 14 Page ID #:393




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   7
     Attorneys for Plaintiff Vanessa Bryant
   8
                            UNITED STATES DISTRICT COURT
   9
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11
     VANESSA BRYANT, a California                    Case No. 2:20-cv-09582-JFW-E
  12 Resident,
                                                     PLAINTIFF’S SECOND SET OF
  13              Plaintiff,                         REQUESTS FOR PRODUCTION
                                                     TO DEFENDANT COUNTY OF
  14        vs.                                      LOS ANGELES
  15 COUNTY OF LOS ANGELES, a                        Judge: Hon. John F. Walter
     public entity, et al.,
  16                                                 Trial Date:   None Set
                   Defendants.
  17
  18
  19   PROPOUNDING PARTY:            VANESSA BRYANT
  20
       RESPONDING PARTY:             COUNTY OF LOS ANGELES
  21
       SET NO.:                      TWO
  22
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  27
                                         Exhibit 7
  28                                       110
                                                                   Case No. 2:20-cv-09582-JFW-E
                       PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION
                              TO DEFENDANT COUNTY OF LOS ANGELES
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   1         Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiff Vanessa
   2 Bryant requests that Defendant County of Los Angeles produce, not later than thirty
   3 (30) days from the date of service hereof, the documents and things described in the
   4 following Rule 34 requests at the offices of Munger, Tolles & Olson LLP, 350
   5 South Grand Avenue, 50th Floor, Los Angeles, California, 90071 (attn.: Craig
   6 Jennings Lavoie), or at such other place and time as may be agreed by counsel for
   7 the parties:
   8                                     DEFINITIONS
   9         1.     “YOU” and “YOUR” shall mean and refer to the County of Los
  10 Angeles and any of its current or former agents, representatives, employees,
  11 officers, directors, members, alter egos, controlled entities, predecessors, successors,
  12 assigns, attorneys, affiliates, and/or any person acting on its behalf.
  13                                    INSTRUCTIONS
  14         2.     Pursuant to Federal Rule of Civil Procedure 34(b), YOU shall produce
  15 responsive DOCUMENTS and COMMUNICATIONS as they have been kept in the
  16 usual course of business or shall organize and label them to correspond to these
  17 enumerated requests. In either case, DOCUMENTS and COMMUNICATIONS
  18 contained in file-folders, loose-leaf binders, and notebooks with tabs or labels
  19 identifying such DOCUMENTS and COMMUNICATIONS are to be produced
  20 intact with such file-folders, loose-leaf binders, or notebooks. In producing
  21 DOCUMENTS and COMMUNICATIONS, all DOCUMENTS and
  22 COMMUNICATIONS that are physically attached to each other shall be left so
  23 attached. DOCUMENTS and COMMUNICATIONS that are segregated or
  24 separated from other DOCUMENTS and COMMUNICATIONS shall be left so
  25 segregated or separated.
  26         3.     These Requests for Production are continuing in nature so as to require
  27 YOU to produce for inspection and copying any DOCUMENTS and
  28 COMMUNICATIONS not previously produced that YOU may from time-to-time
                                     -2-              Case No. 2:20-cv-09582-JFW-E
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                               TO DEFENDANT COUNTY OF LOS ANGELES              Exhibit 7
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   1 acquire, obtain, locate, or identify, in accordance with the duty to supplement and
   2 correct under Federal Rule of Civil Procedure 26(e).
   3         4.     If no DOCUMENTS or COMMUNICATIONS are responsive to a
   4 particular request, YOU should state that no responsive DOCUMENTS and
   5 COMMUNICATIONS exist.
   6         5.     Every DOCUMENT and COMMUNICATION shall be produced with
   7 a Bates-number prefix.
   8         6.     Electronic DOCUMENTS and COMMUNICATIONS shall be
   9 produced in the following format:
  10                a.    Email and e-files should be produced as TIFF (Tagged Image
  11 File Format) images, along with at least the following items of searchable metadata
  12 or information about such DOCUMENTS and COMMUNICATIONS, as required
  13 to make these DOCUMENTS and COMMUNICATIONS reasonably usable: (1) for
  14 emails, from, to, cc, bcc, sent date, sent time, subject, and text; (2) for other
  15 electronic files (including email attachments), file name, file type or extension,
  16 author, created date, created time, modified date, modified time and text; and (3) for
  17 all DOCUMENTS and COMMUNICATIONS (including paper DOCUMENTS and
  18 COMMUNICATIONS), custodian, Bates number beginning, Bates number ending,
  19 family range beginning, family range ending, and confidentiality designation, if any.
  20                b.    TIFF Images should be produced in monochrome single-page
  21 format at 300 dpi resolution with Group IV compression and named by the Bates
  22 number each image represents. Images should be labeled with unique filenames,
  23 zero-padded and with no spaces, which are unique and match the Bates number
  24 stamped on the image. In addition to any other reasonable formatting, images should
  25 contain “speaker’s notes” for MS PowerPoint files, hidden pages/columns/rows/text
  26 with any substantive content for MS Excel files, and “tracked changes” for any MS
  27 Word DOCUMENTS.
  28                                     Exhibit 7
                                           112                       Case No. 2:20-cv-09582-JFW-E
                                                 -3-
                         PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION
                                TO DEFENDANT COUNTY OF LOS ANGELES
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   1                c.     Data deliveries should be on as few CDs, DVDs, external Hard
   2 Disk Drives, thumb drives or secure file transfers as appropriate and reasonable for
   3 the volume of material produced.
   4                d.     To the extent specific DOCUMENTS or DOCUMENT family
   5 groups require redaction, Optical Character Recognition (“OCR”) may be provided
   6 as “text” for such DOCUMENTS.
   7                e.     All DOCUMENT productions shall be produced with industry
   8 standard data load files (e.g., Concordance) and image load files (e.g. Opticon).
   9 Extracted text and OCR text shall be produced in multiple page text files and named
  10 by the Bates number each text file represents.
  11                f.     To the extent necessary in order to produce DOCUMENTS and
  12 COMMUNICATIONS in a reasonably usable format, YOU shall also produce
  13 native files in connection with the production specifications referenced above. This
  14 format of production shall be used for files such as spreadsheets, databases and
  15 multimedia files where the TIFF images do not adequately communicate the
  16 substantive content or context of the file. In the case of any databases and/or files
  17 created in proprietary applications, the parties should discuss whether a standard
  18 export of structured data into a commonly used application (i.e., MS Access or
  19 SQL) would be appropriate or whether there is some other form of production or
  20 reporting that would be more appropriate. When productions are made natively,
  21 YOU should name the file consistent with the first Bates number represented by the
  22 DOCUMENT or COMMUNICATION in the production, followed by any
  23 applicable confidentiality legend (or abbreviation if the legend makes the file name
  24 too long) and produce a slipsheet stating that the DOCUMENT or
  25 COMMUNICATION has been produced in native form.
  26                g.     Notwithstanding the foregoing, if any electronically stored
  27 information is produced in a form that is not reasonably reviewable or useable by
  28 Plaintiff’s counsel, Plaintiff reserves the right for their counsel to request specific
                                                 -4-                   Case No. 2:20-cv-09582-JFW-E
                         PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION
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   1 and individual records to be delivered in a different form, including, but not limited
   2 to, native form.
   3         7.    Any DOCUMENT or COMMUNICATION responsive to a Request
   4 that YOU do not produce by reason of a claim of privilege or otherwise, shall be
   5 identified in writing as follows:
   6               a.     State the general subject matter;
   7               b.     State the date the DOCUMENT or COMMUNICATION was
   8 prepared and the date it bears;
   9               c.     Identify each person who wrote, signed, initialed, dictated, or
  10 otherwise participated in the preparation of the DOCUMENT or
  11 COMMUNICATION;
  12               d.     Identify each person to whom the DOCUMENT or
  13 COMMUNICATION was addressed and each person to whom the original or a
  14 copy of the DOCUMENT or COMMUNICATION was sent;
  15               e.     Identify each person who has custody of the original or a copy of
  16 the DOCUMENT or COMMUNICATION;
  17               f.     Identify each person referred to in the immediate preceding
  18 subparagraphs c, d, and e by stating his or her full name, job title, and business
  19 address, both currently and at the time he or she first had any involvement with the
  20 DOCUMENT or COMMUNICATION; and
  21               g.     State the privilege or immunity asserted.
  22                          REQUESTS FOR PRODUCTION
  23 REQUEST FOR PRODUCTION NO. 49:
  24         The Internal Affairs Bureau Investigative report identified in YOUR initial
  25 disclosures served on November 18, 2020 (attached hereto as Exhibit A).
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  27
  28                                     Exhibit 7
                                           114
                                                -5-                 Case No. 2:20-cv-09582-JFW-E
                        PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION
                               TO DEFENDANT COUNTY OF LOS ANGELES
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 7 of 14 Page ID #:398




   1 DATED: November 30, 2020              MUNGER, TOLLES & OLSON LLP
   2
   3
                                           By:         /s/ Craig Jennings Lavoie
   4
                                                      CRAIG JENNINGS LAVOIE
   5
   6                                       Attorneys for Plaintiff Vanessa Bryant

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  28                                  Exhibit 7
                                        115
                                              -6-                 Case No. 2:20-cv-09582-JFW-E
                      PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION
                             TO DEFENDANT COUNTY OF LOS ANGELES
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               Exhibit A




                                       Exhibit 7
                                         116
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 9 of 14 Page ID #:400




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   7 LOS ANGELES COUNTY SHERIFF’S
     DEPARTMENT and ALEX VILLANUEVA
   8
   9 LOUIS R. MILLER (State Bar No. 54141)
     MIRA HASHMALL (State Bar No. 216842)
  10 EMILY A. RODRIGUEZ-SANCHIRICO (State Bar No. 311294)
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     Email: smiller@millerbarondess.com
  13
     Attorneys for Defendant
  14 COUNTY OF LOS ANGELES
  15
  16                            UNITED STATES DISTRICT COURT
  17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  18
  19 VANESSA BRYANT, a California                    CASE NO. 2:20-cv-09582-JFW-E
  20 resident,
                                                     DEFENDANTS’ INITIAL
  21                   Plaintiff,                    DISCLOSURES
  22              v.                                 Assigned to Hon. John F. Walter and
                                                     Magistrate Judge Charles F. Eick
  23 COUNTY OF LOS ANGELES, a
  24 public entity; LOS ANGELES
     COUNTY SHERIFF’S
  25 DEPARTMENT, a public entity; ALEX
     VILLANUEVA, as Sheriff of the
  26 County of Los Angeles and as an
  27 individual; and DOES 1-10, inclusive,
  28                   Defendants.
                                                   Exhibit 7
       486437.1
                                                     117               Case No. 2:20-cv-09582-JFW-E
                                     DEFENDANTS’ INITIAL DISCLOSURES
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 10 of 14 Page ID #:401




    1                          DEFENDANTS’ INITIAL DISCLOSURES
    2              Defendants County of Los Angeles, Los Angeles County Sheriff’s
    3 Department, and Los Angeles County Sheriff Alex Villanueva (collectively,
    4 “Defendants”) hereby make their initial disclosures, as required by Rule 26(a)(1) of
    5 the Federal Rules of Civil Procedure.
    6              Defendants are making these disclosures based on the information that is
    7 reasonably available to them at this time in a good-faith effort to comply with their
    8 obligations under Rule 26(a)(1). Discovery is ongoing, and Defendants reserve the
    9 right to supplement, update and/or amend these disclosures as appropriate during the
   10 course of this action. By making these disclosures, Defendants do not represent that
   11 they are identifying every document or witness relevant to their claims or defenses,
   12 do not concede admissibility of the information disclosed, and do not waive any
   13 protections available to them under the attorney-client privilege, the work product
   14 doctrine, or any other applicable privilege. No incidental or implied admissions are
   15 intended by these Initial Disclosures. This disclosure does not include any expert
   16 witnesses. Expert witnesses will be disclosed in accordance with the Federal Rules
   17 of Civil Procedure and applicable scheduling orders of the Court.
   18              Finally, Defendants’ disclosures are made without waiver of: (1) the right to
   19 object to the use of any information disclosed herein in this action or any other
   20 action; (2) the right to object to any discovery request relating to these disclosures;
   21 and (3) the right to seek a protective order.
   22              A.    Individuals Likely to Have Discoverable Information
   23              In accordance with Federal Rule of Civil Procedure 26(a)(1)(A)(i), and
   24 subject to the reservation of all rights and privileges described above, Defendants
   25 believe that the individuals identified in the Internal Affairs Bureau Investigative
   26 Report, described below, are likely to have discoverable information regarding their
   27 claims and defenses. Defendants are not listing those individuals here due to
   28 privacy and confidentiality concerns.
                                             Exhibit 7
        486437.1                               118     2                  Case No. 2:20-cv-09582-JFW-E
                                       DEFENDANTS’ INITIAL DISCLOSURES
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 11 of 14 Page ID #:402




    1              B.    Categories of Documents Defendants May Use
    2              In accordance with Federal Rule of Civil Procedure 26(a)(1)(A)(ii), and
    3 subject to the reservation of all rights and privileges described above and any ruling
    4 by the Court as to scope, Defendants provide the following list of categories of
    5 documents in their possession, custody or control that they may use in support of
    6 their defenses, excluding documents that would be used solely for impeachment.
    7                     Category                                   Location
    8    Internal Affairs Bureau                    Los Angeles County Sheriff’s Department
         Investigative Report                       211 West Temple Street
    9                                               Los Angeles, CA 90012
   10
   11              Defendants believe that the IA Report contains all of the information Plaintiff
   12 is seeking, including the names of all witnesses who are likely to have discoverable
   13 information regarding her claims and Defendants’ defenses. The IA Report does,
   14 however, contain confidential personnel information and can only be produced
   15 subject to a protective order and a court order compelling its production.
   16 Defendants anticipate briefing these issues in connection with a motion to compel
   17 responses to Plaintiff’s requests for production.
   18              Defendants also anticipate that the third parties whose rights as peace officers
   19 may be implicated by any disclosure of the IA Report may intervene and lodge their
   20 own objections. Defendants have notified those individuals of the potential
   21 disclosure.
   22              C.    Insurance
   23              Defendants deny that they are liable to Plaintiff for any damages. In any
   24 event, there is no applicable insurance agreement.
   25              D.    Reservation of Rights
   26              Defendants reserve their rights to supplement or amend these disclosures in
   27 light of further discovery, investigation, and trial preparation.
   28
                                               Exhibit 7
        486437.1                                 119
                                                           3               Case No. 2:20-cv-09582-JFW-E
                                       DEFENDANTS’ INITIAL DISCLOSURES
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 12 of 14 Page ID #:403




    1 DATED: November 18, 2020          MILLER BARONDESS, LLP
    2
    3
                                        By:       /s/ Louis R. Miller
    4
                                                  LOUIS R. MILLER
    5                                             Attorneys for Defendant
    6                                             COUNTY OF LOS ANGELES

    7
    8 DATED: November 18, 2020          OFFICE OF COUNTY COUNSEL
    9
   10
                                        By:       /s/ Jonathan C. McCaverty
   11
                                                  JONATHAN C. McCAVERTY
   12                                             Attorneys for Defendants
   13                                             LOS ANGELES COUNTY SHERIFF’S
                                                  DEPARTMENT and ALEX
   14                                             VILLANUEVA, as Sheriff of the County
   15                                             of Los Angeles and as an individual

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                                      Exhibit 7
        486437.1                        120
                                                  4               Case No. 2:20-cv-09582-JFW-E
                               DEFENDANTS’ INITIAL DISCLOSURES
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    1                                   PROOF OF SERVICE
    2                          Bryant v. County of Los Angeles et al.
                                  Case No. 2:20-cv-09582-JFW-E
    3
        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    4
            At the time of service, I was over 18 years of age and not a party to this
    5 action. I am employed in the County of Los Angeles, State of California. My
      business address is 350 South Grand Avenue, Fiftieth Floor, Los Angeles, CA
    6 90071-3426.
    7        On November 30, 2020, I served true copies of the following
      DOCUMENT(s) described as PLAINTIFF’S SECOND SET OF REQUESTS
    8 FOR PRODUCTION TO DEFENDANT COUNTY OF LOS ANGELES on the
      interested parties in this action as follows:
    9
                                SEE ATTACHED SERVICE LIST
   10
             BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court
   11 order or an agreement of the parties to accept service by e-mail or electronic
      transmission, I caused the document(s) to be sent from e-mail address
   12 Craig.Lavoie@mto.com to the persons at the e-mail addresses listed in the Service
      List. I did not receive, within a reasonable time after the transmission, any
   13 electronic message or other indication that the transmission was unsuccessful.
   14       I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct and that I am employed in the office
   15 of a member of the bar of this Court at whose direction the service was made.
   16            Executed on November 30, 2020, at Los Angeles, California.
   17
   18                                                      /s/ Craig Jennings Lavoie
                                                    CRAIG JENNINGS LAVOIE
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                                               Exhibit 7
        46026240.1                               121                     Case No. 2:20-cv-09582-JFW-E
                                           PROOF OF SERVICE
Case 2:20-cv-09582-JFW-E Document 34-8 Filed 12/04/20 Page 14 of 14 Page ID #:405




    1                                SERVICE LIST
                           Bryant v. County of Los Angeles et al.
    2                         Case No. 2:20-cv-09582-JFW-E
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    4 Mira Hashmall
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    5 Emily A. Rodriguez
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    7 Los Angeles, CA 90067
      (310) 552-4400
    8
    9 Jonathan C. McCaverty                       Attorneys for Los Angeles County
      jmccaverty@counsel.lacounty.gov             Sheriff’s Department and Alex
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   11 Los Angeles, CA 90012
      (310) 552-4400
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                                             Exhibit 7
        46026240.1                             122                  Case No. 2:20-cv-09582-JFW-E
                                      PROOF OF SERVICE
